          Case 3:10-cr-04702-DMS                        Document 68                Filed 03/11/11              PageID.128                Page 1 of 7
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     'A0245B      (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1                                                                                                             MAR 1 1 2011
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                                             UNITED STATES DISTRICT COUR iBV                                                    -~                     DIiPUTV.
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                      JUDGMENT IN               1CRIMINAL CASE
                                                                                  (For Offenses Committed On or After November 1, 1987)
                                       v.
                    CARLOS CESAR MENDOZA (2)                                      Case Number: lOCR4702-DMS
                                                                                   Antonio F Yoon CJA
                                                                                  Defendant's Attorney
     REGISTRATION NO. 00371298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _1,_2_a_n_d_3_0_f_th_e_I_n_fo_rm_at_io_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found guilty on count(s)
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s);
                                                                                                                                            Count
     Title & Section                        Nature of Offense                                                                              Numberls)
8 USC 1324(a)(I)(A)(ii)              TRANSPORTATION OF ILLEGAL ALIEN AND AIDING AND ABETTING
 and (v)(II)
8 USC 1324(a)(I)(A)(iii)             HARBORING ILLEGAL ALIEN AND AIDING AND ABETTING                                                             2
 and (v)(II)
18 USC 922(g)(l)                     FELON IN POSSESSION OF A FIREARM                                                                            3




               The defendant is sentenced as provided in pages 2 through _ _4_ _ ofthis judgment. The sentence is imposed pursuant
        to the Sentencing Reform Act of 1984.

   D The defendant has been found not guilty on count(s)
   D Count(s) _ _ _ _ _ _ _ _ _ _ __                                  is DareD dismissed on the motion ofthe United States.
   181 Assessment: $300.00 ($100 as to each of Counts 1, 2 and 3).
   181 Fine waived.                          181 Forfeiture pursuant to order filed February 28, 2011     included herein.
             IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
       or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
       defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                   MARCH 10,2011


                                                                                   ~'f1_~_.~
                                                                                   HON.DA~W
                                                                                    UNITED STATES DISTRICT JUDGE


                                                                                                                                             lOCR4702-DMS
    Case 3:10-cr-04702-DMS                           Document 68       Filed 03/11/11       PageID.129            Page 2 of 7


AO 245B      (Rev. 9/00) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                             Judgment   Page _..;;;2_ of      4
DEFENDANT: CARLOS CESAR MENDOZA (2)
CASE NUMBER: lOCR4702-DMS
                                                             IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          THIRTY (30) MONTHS as to each of Counts 1,2 and 3 concurrently.



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o The court makes the following recommendations to the Bureau ofPrisons:

   o The defendant is remanded to the custody of the United States Marshal.
   o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Oa.m.    Op.m.    on
                as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o
      o as notified by the United States Marshal.
      o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
I have executed this judgment as follows:

          Defendant delivered on                                               to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                      By ________~~~~~~~~~------------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                    lOCR4702-DMS
       Case 3:10-cr-04702-DMS                         Document 68         Filed 03/11/11             PageID.130            Page 3 of 7


AO 24SD      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release
                                                                                                        Judgment-Page   ---1....-. of _ _4:....-_ _
DEFENDANT: CARLOS CESAR MENDOZA (2)                                                             II
CASE NUMBER: lOCR4702·DMS
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS as to each of Counts 1,2 and 3 concurrently.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless 0 therwise ordered by court.

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
181 Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, ifapplicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the rtrst five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shaH permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to conflI'm the
        defendant's compliance with such notification requirement.
                                                                                                                               lOCR4702·DMS
           Case 3:10-cr-04702-DMS                             Document 68   Filed 03/11/11           PageID.131            Page 4 of 7


        AO 245B     (Rev. 9100) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                         Judgment-Page --L- of _ _4..:..-_ _
       DEFENDANT: CARLOS CESAR MENDOZA (2)
       CASE NUMBER: lOCR4701-DMS




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded., or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Participate in a mental health treatment program as directed by the probation office.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
181 Resolve all outstanding warrants within 60 days.
D Complete               hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment.

D Remain in your place of residence for a period of                            , except while working at verifiable employment, attending religious
    services or undergoing medical treatment.
D Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
D Comply with the conditions of the Home Confinement Program for a period of                          months and remain at your residence
    except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
    procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
    probation officer.

181 Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
    on the defendant's ability to pay.


                                                                                                                                   lOCR4701-DMS
Case 3:10-cr-04702-DMS        Document 68          Filed 03/11/11      PageID.132          Page 5 of 7




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    8                                 UNITED STATES DISTRICT COURT

    9                              SOUTHERN DISTRICT OF CALIFORNIA

   10    UNITED STATES OF AMERICA,                       )   Case No. IOcr4702-DMS
                                                         )
   11                           Plaintiff,               )   PRELIMINARY ORDER
                                                         )   OF CRIMINAL FORFEITURE
   12           v.                                       )
                                                         )
   13    CARLOS CESAR MENDOZA (2),                       )
                                                         )
   14                           Defendant.               )
         ----------------------------)
   15

   16           WHEREAS, in the Information in the above-captioned case, the United States sought

   17    forfeiture of all right, title and interest in specific properties of the above-named Defendant

   18    pursuant to 18 U.S.C. §982(a)(6), 924(d), and 28 U.S.C. §2461(c), as properties involved in the

   19    commission ofTitle 18, United States Code, Sections 922(g)( I) as charged in the Information; and

   20           WHEREAS, on or about December 8,20 I 0, Defendant CARLOS CESAR MENDOZA (2)

   21    ("Defendant")     plead     guilty   to   a   three-count    Information        before   Magistrate

   22    Judge Peter C. Lewis; and

   23           WHEREAS, on or about December 22,20 I0, the plea ofthe above-named Defendant was

   24    accepted by the U.S. District Court, and which plea included consent to the criminal forfeiture

   25    allegation pursuant to Titles 18 and 28, as set forth in the Information; and

   26           WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

   27    established the requisite nexus between the forfeited properties and the offense; and

   28    II
Case 3:10-cr-04702-DMS       Document 68         Filed 03/11/11       PageID.133        Page 6 of 7




    1           WHEREAS, by virtue of said guilty plea, the United States is now entitled to possession

    2    of said properties, pursuant to 18 U.S.C. §982(a)(6), 924(d), and           28 U.S.C. §2461(c),

    3    and Rule 32.2(b) of the Federal Rules of Criminal Procedure; and

    4           WHEREAS, pursuant to Rule 32.2(b), the United States having requested the authority to

    5    take custody of the following properties which were found forfeitable by the Court, namely:

    6                   One Remington, Model 552 Speedmaster .22 Caliber rifle, Serial
                        # 1746133, and all the ammunition including an ammunition box containing
    7                   5 rounds of .22 caliber ammunition, and a magazine containing 29 rounds
                        of .223 caliber ammunition; and
    8
    9            WHEREAS, on or about February 10,2011, the $4,506.00 in U.S. currency to which the

   10     Defendant pled was administratively forfeited in the Southern District of California by the

   11     Drug Enforcement Administration (DEA); and

   12           WHEREAS, the United States, having submitted the Order herein to the Defendant through

   13    his attorney ofrecord, to review, and no objections having been received;

   14           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

   15           1.      Based upon the guilty plea of the Defendant, the United States is hereby authorized

   16    to take custody and control of the following assets, and all right, title and interest of the

   17    Defendant in the following properties are hereby forfeited to the United States for disposition in

   18    accordance with the law, subject to the provisions of21 U.S.C. § 853(n):

   19                   One Remington, Model 552 Speedmaster .22 Caliber rifle, Serial
                        # 1746133, and all the ammunition including an ammunition box containing
   20                   5 rounds of .22 caliber ammunition, and a magazine containing 29 rounds
                        of .223 caliber ammunition;
   21
   22           2.      The aforementioned forfeited assets are to be held by the Bureau of Alcohol,

   23    Tobacco, Firearms, and Explosives (ATFE) in its secure custody and control.

   24           3.      Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized to begin

   25    proceedings consistent with any statutory requirements pertaining to ancillary hearings and rights

   26    ofthird parties.

   27           4.      Pursuant to the Attorney General's authority under Section 853(n)( I) of Title 21,

   28    United States Code, Rule 32.2(b)(3), Fed. R. Crim. P., and Rule G(4) of the Supplemental Rules


                                                         2                                       IOcr4702
Case 3:10-cr-04702-DMS         Document 68         Filed 03/11/11         PageID.134         Page 7 of 7




    1    for Admiralty or Maritime Claims and Asset Forfeiture Actions, the United States forthwith shall

    2    publish for thirty (30) consecutive days on the Government's forfeiture                       website,

    3    www.forfeiture.gov, notice ofthis Order, notice of ATFE's intent to dispose of the properties in

    4    such manner as the Attorney General may direct, and notice that any person, other than the

    5    Defendant, having or claiming a legal interest in the above-listed forfeited properties must file a

    6    petition with the Court within thirty (30) days of the final publication of notice or of receipt of

    7    actual notice, whichever is earlier.

    8            5.       This notice shall state that the petition shall be for a hearing to adjudicate the

    9    validity ofthe petitioner's alleged interest in the properties, shall be signed by the petitioner under

   10    penalty ofperjury, and shall set forth the nature and extent ofthe petitioner's right, title or interest

   11    in the forfeited properties and any additional facts supporting the petitioner's claim and the

   12    relief sought.

   13            6.       The United States may also, to the extent practicable, provide direct written notice

   14    to any person known to have alleged an interest in the properties that are the subject of the

   15    Preliminary Order of Criminal Forfeiture.

   16            7.       Upon adjudication of all third-party interests, this Court will enter an

   17    Amended Order of Forfeiture pursuant to 21 U.S.c. § 853(n), in which all interests will

   18    be addressed.

   19
   20    DATED: February 28, 2011

   21
   22                                                  HON. DANA M. SABRAW
                                                       United States District Judge
   23
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